Ignacio Hiraldo

From:                Robert A. Buzzard <tbuzzard@buzzlawfirm.com> on behalf of Robert A. Buzzard
Sent:                Monday, August 9, 2021 9:25 PM
To:                  'Ignacio Hiraldo'; esalmon@salmonfirm.com
Cc:                  meisenband@eisenbandlaw.com; 'Cheryl Ivin'; mhiraldo@hiraldolaw.com
Subject:             RE: Beard v. Hiester


Ignacio,

        We do not intend to revise and stand by our prior objections. It is even more clear now, given
Ms. Beard’s deposition, that she does not have a valid claim and that she is not in a class. Further, she
could not be a reasonable representative. Ms. Beard clearly lied under oath on multiple occasions in the
attempt to make out a claim that is not supported in law or fact. Therefore, we will be asking the Court
to deny the requested class discovery and, in upcoming filings, to dismiss her claim and for other and
further appropriate relief.

        Without waiving prior objections, I have received information that there may have been a
contract with DMG in the past and my client is trying to locate a copy of same. I do not think it should
be required production at this point but wanted to let you know as this had been discussed previously.

Tony

Robert A. “Tony” Buzzard
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PO Box 700
728 S. Main Street
Lillington, NC 27546
910.893.2900
tbuzzard@buzzlawfirm.com
www.buzzlawfirm.com

From: Ignacio Hiraldo <ijhiraldo@ijhlaw.com>
Sent: Monday, August 9, 2021 9:56 AM
To: Robert A. Buzzard <tbuzzard@buzzlawfirm.com>; esalmon@salmonfirm.com
Cc: meisenband@eisenbandlaw.com; Cheryl Ivin <cirvin@buzzlawfirm.com>;
mhiraldo@hiraldolaw.com; Ignacio Hiraldo <ijhiraldo@ijhlaw.com>
Subject: RE: Beard v. Hiester

Tony,

Following up on the below. We intend to get our motion to compel on file this evening, so please let me
know if Defendant is willing to revise its responses.

Best,
                                                    1




           Case 5:21-cv-00173-D Document 20-6 Filed 08/10/21 Page 1 of 17
Ignacio J. Hiraldo, Esq.
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immediately. Any unauthorized reading, copying, distribution, or other use of this message or its contents is strictly prohibited and may be
unlawful.




From: Ignacio Hiraldo <ijhiraldo@ijhlaw.com>
Sent: Friday, August 6, 2021 11:22 AM
To: Robert A. Buzzard <tbuzzard@buzzlawfirm.com>; esalmon@salmonfirm.com
Cc: meisenband@eisenbandlaw.com; Cheryl Ivin <cirvin@buzzlawfirm.com>;
mhiraldo@hiraldolaw.com; Ignacio Hiraldo <ijhiraldo@ijhlaw.com>
Subject: RE: Beard v. Hiester

Thanks Tony.

Will Defendant be sending updated responses with your below results (where there are no documents)
or do you prefer we add that to our motion?

Best,

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f. 786‐628‐9291
ijhiraldo@ijhlaw.com
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                                                                       2




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This email message (including any attachments) is only for use by the intended recipient(s) and is presumed confidential. It also may be
subject to the attorney-client privilege, attorney work-product privilege, other confidentiality protections, and may constitute inside
information. If you are not an intended recipient, you may not review, copy, distribute, or otherwise use this message or its contents. If you
received this message in error, please notify the sender and delete this message (including any attachments) from your system
immediately. Any unauthorized reading, copying, distribution, or other use of this message or its contents is strictly prohibited and may be
unlawful.




From: Robert A. Buzzard <tbuzzard@buzzlawfirm.com>
Sent: Thursday, August 5, 2021 2:49 PM
To: 'Ignacio Hiraldo' <ijhiraldo@ijhlaw.com>; esalmon@salmonfirm.com
Cc: meisenband@eisenbandlaw.com; 'Cheryl Ivin' <cirvin@buzzlawfirm.com>;
mhiraldo@hiraldolaw.com
Subject: RE: Beard v. Hiester

I understand. Given her deposition testimony, proceed at your own risk.

Robert A. “Tony” Buzzard
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Lillington, NC 27546
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tbuzzard@buzzlawfirm.com
www.buzzlawfirm.com

From: Ignacio Hiraldo <ijhiraldo@ijhlaw.com>
Sent: Thursday, August 5, 2021 1:48 PM
To: Robert A. Buzzard <tbuzzard@buzzlawfirm.com>; esalmon@salmonfirm.com
Cc: meisenband@eisenbandlaw.com; Cheryl Ivin <cirvin@buzzlawfirm.com>;
mhiraldo@hiraldolaw.com; Ignacio Hiraldo <ijhiraldo@ijhlaw.com>
Subject: RE: Beard v. Hiester

Thank you. As we have reached an impasse on these issues, Plaintiff will be moving to compel.

Best,

Ignacio J. Hiraldo, Esq.
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1200 Brickell Ave
                                                                       3




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Suite 1950
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subject to the attorney-client privilege, attorney work-product privilege, other confidentiality protections, and may constitute inside
information. If you are not an intended recipient, you may not review, copy, distribute, or otherwise use this message or its contents. If you
received this message in error, please notify the sender and delete this message (including any attachments) from your system
immediately. Any unauthorized reading, copying, distribution, or other use of this message or its contents is strictly prohibited and may be
unlawful.




From: Robert A. Buzzard <tbuzzard@buzzlawfirm.com>
Sent: Sunday, August 1, 2021 11:07 PM
To: 'Ignacio Hiraldo' <ijhiraldo@ijhlaw.com>; esalmon@salmonfirm.com
Cc: meisenband@eisenbandlaw.com; 'Cheryl Ivin' <cirvin@buzzlawfirm.com>;
mhiraldo@hiraldolaw.com
Subject: RE: Beard v. Hiester

IGNACIO, SEE OUR REPLIES IN HIGHLIGHTED CAPS BELOW


     1. Response to RFPs
           a. RFP 2
                                 We would like to confirm there are no written agreements between
                                 Defendant and any of the third parties listed in the interrogatories,
                                 including Direct Marketing.

                           Although you have been told none exist, you will reach out to client to see if there
                           are any written agreements with Webbuy, Dealersocket, or Direct Marketing Group.

                           THERE ARE NO WRITTEN AGREEMENTS AS TO ANY CALL/VOICEMAIL/VOICEDROP
                           CAMPAIGNS

                c. RFP 3
                                 This is an improper boilerplate objection. Further, this is relevant to issues
                                 of vicarious liability for the calls.


                                                                       4




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          Plaintiff agreed to limit this request to just written communications with Direct
          Marketing group. Although you have been told none exist, you will reach out to
          client to see if there are any.

          MY CLIENT IS RUNNING SOME SEARCHES TO SEE IF ANY SUCH DOCUMENTS EXIST
          BUT OUR OBJECTION REMAINS AS SUCH PRODUCTION IS PREMATURE.

 d. RFP 4
              This is an improper boilerplate objection. Further, this is relevant to issues
              of vicarious liability for the calls.

      Plaintiff agreed to limit this to just invoices or receipts with Direct Marketing. You will
      reach out to client to see if any exist.

      MY CLIENT DID PAY DMG AND HAS GENERCI INVOICES FROM DMG. AS STATED
      PREVIOUSLY, PRODUCTION OF SUCH MATERIAL IS PREMATURE BASED ON THE FACTS
      ALLEGED AND YOUR CLIENT’S DEPOSITION


 e. RFP 8, 9, 10
              This is an improper boilerplate objection. Further, this information is
              relevant to various class certification issues, such as numerosity,
              ascertainability, and superiority. Finally, if Defendant is able to obtain
              these documents from its vendor, it is under an obligation to do so. See
              Mantha v. QuoteWizard.com, LLC, No. 19-12235-LTS, 2021 U.S. Dist.
              LEXIS 50021, at *10 (D. Mass. Mar. 16, 2021).
      To resolve any concerns about solicitation, Plaintiff agreed to either stipulate to not
      contacting any individuals listed prior to a class being certified, or having the personal
      information produced in redacted form. Defendant’s position is that it does not have
      possession of any of these and is premature because of above threshold issues, but you
      would check to see if any summary reports or similar documents were sent to
      Defendant after each campaign.

      NONE EXIST OF WHICH MY CLIENT IS AWARE


 f.   RFPS 15-17
            Consent is Defendant’s affirmative defense. To the extent Defendant will
            be relying on a consent defense, it is under an obligation to produce
            documents it intends to rely on to support that defense.

      Plaintiff agreed to limit to exemplars of each type of consent rather than requiring every
      form. Defendant’s position is that it is not in possession of these documents as this was
      being done by Direct Marketing.

      THE PREVIOUSLY STATED POSITION IS CORRECT, WE HAVE NO SUCH DOCUMENTS

                                            5




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       g. RFPS 21-22
                   These are improper boilerplate objections. Further, any financial gain
                   Defendant obtained is relevant to the question of vicarious liability,
                   particularly the ratification doctrine.
           Plaintiff withdrew request for RFP 21. For RFP 22, you believe no such document exists
           showing revenue generated as result of prerecorded messages, but will double check.

           NONE EXIST


       h. RFP 26-27
                   This is an improper boilerplate objection. Further, this information is
                   relevant to the purpose of the calls. Finally, if Defendant is able to obtain
                   these documents from its vendor, it is under an obligation to do so. See
                   Mantha v. QuoteWizard.com, LLC, No. 19-12235-LTS, 2021 U.S. Dist.
                   LEXIS 50021, at *10 (D. Mass. Mar. 16, 2021).
           You will check to see if there are any written communications regarding the wording of
           the messages, but do not think any exist.

           NONE EXIST OF WHICH MY CLIENT IS AWARE. THERE IS ONE VOICE RECORDING FROM
           RYAN FULLER THAT MY CLIENT HAS IN AUDIO.


2. Responses to Interrogatories
      a. Defendant’s responses to almost all of the Interrogatories contain improper
          boilerplate objections. Eshelman v. Puma Biotechnology, Inc., No. 7:16-CV-18-
          D, 2018 U.S. Dist. LEXIS 58949, at *24 (E.D.N.C. Apr. 6, 2018) (“The party
          seeking the court's protection from responding to discovery must make a
          particularized showing of why discovery should be denied, and conclusory or
          generalized statements fail to satisfy this burden as a matter of law.”) (citing
          Carefirst of Md., Inc., 334 F.3d at 402-03; Mainstreet Collection, 270 F.R.D. at
          240 (recognizing that boilerplate objections are not proper)).
       b. Rog No. 3
                  The number of prerecorded messages put out goes to class certification
                  issues of numerosity.
       Defendant’s position is that it does not have possession of any of these and is premature
       because of above threshold issues, but you would check to see if any summary reports or
       similar documents were sent to Defendant after each campaign.

       AM I INFORMED THAT MY CLIENT DOES NOT HAVE ANY SUCH REPORTS ABOUT HOW MANY
       MESSAGES ARE/WERE SENT RE TOTAL NUMBER, MONTHLY, BY CAMPAIGN OR OTHERWISE

       c. Rog No. 6
                   If anyone at Defendant worked with Direct Marketing to create the content
                   of the messages, that is responsive and relevant to issues of vicarious
                   liability.
                                              6




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                 You will check to see if there are any written communications regarding the wording of
                 the messages, but do not think any exist.

                       NONE EXIST OF WHICH MY CLIENT IS AWARE. THEY ARE CHECKING BUT OUR
                       OBJECTION WILL REMAIN AS SUCH PRODUCTION IS PREMATURE.




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From: Ignacio Hiraldo <ijhiraldo@ijhlaw.com>
Sent: Wednesday, July 21, 2021 9:02 AM
To: Robert A. Buzzard <tbuzzard@buzzlawfirm.com>; esalmon@salmonfirm.com
Cc: meisenband@eisenbandlaw.com; Cheryl Ivin <cirvin@buzzlawfirm.com>;
mhiraldo@hiraldolaw.com; Ignacio Hiraldo <ijhiraldo@ijhlaw.com>
Subject: RE: Beard v. Hiester

Tony,

Following up on this issue. Thanks,

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f. 786‐628‐9291
ijhiraldo@ijhlaw.com
www.ijhlaw.com


From: Robert A. Buzzard <tbuzzard@buzzlawfirm.com>
Sent: Thursday, July 15, 2021 10:44 AM
To: 'Ignacio Hiraldo' <ijhiraldo@ijhlaw.com>; esalmon@salmonfirm.com
Cc: meisenband@eisenbandlaw.com; 'Cheryl Ivin' <cirvin@buzzlawfirm.com>;
mhiraldo@hiraldolaw.com
Subject: RE: Beard v. Hiester

Will do.
                                                    7




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Robert A. “Tony” Buzzard
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728 S. Main Street
Lillington, NC 27546
910.893.2900
tbuzzard@buzzlawfirm.com
www.buzzlawfirm.com

From: Ignacio Hiraldo <ijhiraldo@ijhlaw.com>
Sent: Thursday, July 15, 2021 9:52 AM
To: Robert A. Buzzard <tbuzzard@buzzlawfirm.com>; esalmon@salmonfirm.com
Cc: meisenband@eisenbandlaw.com; Cheryl Ivin <cirvin@buzzlawfirm.com>;
mhiraldo@hiraldolaw.com; Ignacio Hiraldo <ijhiraldo@ijhlaw.com>
Subject: RE: Beard v. Hiester

No agreement yet, please let us know when you hear back from your client. Thanks,

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f. 786‐628‐9291
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From: Robert A. Buzzard <tbuzzard@buzzlawfirm.com>
Sent: Tuesday, July 13, 2021 5:47 PM
To: 'Ignacio Hiraldo' <ijhiraldo@ijhlaw.com>; esalmon@salmonfirm.com
Cc: meisenband@eisenbandlaw.com; 'Cheryl Ivin' <cirvin@buzzlawfirm.com>;
mhiraldo@hiraldolaw.com
Subject: RE: Beard v. Hiester

I think you have summarized the discussion adequately. I have reached out to our client re some of the
things we discussed and will let you know if we have additional responsive documents or responses. Did
you come to any agreement with Direct Marketing Group re production?

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                                                  8




          Case 5:21-cv-00173-D Document 20-6 Filed 08/10/21 Page 8 of 17
From: Ignacio Hiraldo <ijhiraldo@ijhlaw.com>
Sent: Friday, July 9, 2021 12:59 PM
To: Tony Buzzard <tbuzzard@buzzlawfirm.com>; esalmon@salmonfirm.com
Cc: meisenband@eisenbandlaw.com; Cheryl Ivin <cirvin@buzzlawfirm.com>;
mhiraldo@hiraldolaw.com; Ignacio Hiraldo <ijhiraldo@ijhlaw.com>
Subject: RE: Beard v. Hiester

All,

Thank you for your time yesterday, although we disagree on the issues I think it was a productive
conversation and appreciate your taking the time to explain your positions.

Please see below for my notes from the call, let me know if I missed anything or did not
understand your position correctly.

Best,

Ignacio

___________________

Threshold Issues: Defendant’s position is that class discovery is premature because of its
position that Plaintiff (1) gave consent, and (2) is not a typical class representative. Plaintiff
disagrees and believes because Court has not bifurcated and because Plaintiff has to support her
future motion for class certification with evidence discovery is appropriate at this time.

Specific Requests – With understanding that Defendant’s position is that threshold issue above
applies to all requests.

   1. Response to RFPs
         a. Defendant’s responses to almost all of the RFPs are improper boilerplate
              objections. See Eshelman v. Puma Biotechnology, Inc., No. 7:16-CV-18-D, 2018
              U.S. Dist. LEXIS 58949, at *24 (E.D.N.C. Apr. 6, 2018) (“The party seeking the
              court's protection from responding to discovery must make a particularized
              showing of why discovery should be denied, and conclusory or generalized
              statements fail to satisfy this burden as a matter of law.”) (citing Carefirst of Md.,
              Inc., 334 F.3d at 402-03; Mainstreet Collection, 270 F.R.D. at 240 (recognizing
              that boilerplate objections are not proper)).
           b. RFP 2
                      We would like to confirm there are no written agreements between
                      Defendant and any of the third parties listed in the interrogatories,
                      including Direct Marketing.

                   Although you have been told none exist, you will reach out to client to see if there
                   are any written agreements with Webbuy, Dealersocket, or Direct Marketing Group.
                                                  9




          Case 5:21-cv-00173-D Document 20-6 Filed 08/10/21 Page 9 of 17
 c. RFP 3
              This is an improper boilerplate objection. Further, this is relevant to issues
              of vicarious liability for the calls.

          Plaintiff agreed to limit this request to just written communications with Direct
          Marketing group. Although you have been told none exist, you will reach out to
          client to see if there are any.

 d. RFP 4
              This is an improper boilerplate objection. Further, this is relevant to issues
              of vicarious liability for the calls.

      Plaintiff agreed to limit this to just invoices or receipts with Direct Marketing. You will
      reach out to client to see if any exist.

 e. RFP 8, 9, 10
              This is an improper boilerplate objection. Further, this information is
              relevant to various class certification issues, such as numerosity,
              ascertainability, and superiority. Finally, if Defendant is able to obtain
              these documents from its vendor, it is under an obligation to do so. See
              Mantha v. QuoteWizard.com, LLC, No. 19-12235-LTS, 2021 U.S. Dist.
              LEXIS 50021, at *10 (D. Mass. Mar. 16, 2021).
      To resolve any concerns about solicitation, Plaintiff agreed to either stipulate to not
      contacting any individuals listed prior to a class being certified, or having the personal
      information produced in redacted form. Defendant’s position is that it does not have
      possession of any of these and is premature because of above threshold issues, but you
      would check to see if any summary reports or similar documents were sent to
      Defendant after each campaign.


 f.   RFPS 15-17
            Consent is Defendant’s affirmative defense. To the extent Defendant will
            be relying on a consent defense, it is under an obligation to produce
            documents it intends to rely on to support that defense.

      Plaintiff agreed to limit to exemplars of each type of consent rather than requiring every
      form. Defendant’s position is that it is not in possession of these documents as this was
      being done by Direct Marketing.


 g. RFPS 21-22
              These are improper boilerplate objections. Further, any financial gain
              Defendant obtained is relevant to the question of vicarious liability,
              particularly the ratification doctrine.


                                           10




Case 5:21-cv-00173-D Document 20-6 Filed 08/10/21 Page 10 of 17
                 Plaintiff withdrew request for RFP 21. For RFP 22, you believe no such document exists
                 showing revenue generated as result of prerecorded messages, but will double check.


            h. RFP 26-27
                           This is an improper boilerplate objection. Further, this information is
                           relevant to the purpose of the calls. Finally, if Defendant is able to obtain
                           these documents from its vendor, it is under an obligation to do so. See
                           Mantha v. QuoteWizard.com, LLC, No. 19-12235-LTS, 2021 U.S. Dist.
                           LEXIS 50021, at *10 (D. Mass. Mar. 16, 2021).
                 You will check to see if there are any written communications regarding the wording of
                 the messages, but do not think any exist.

    2. Responses to Interrogatories
          a. Defendant’s responses to almost all of the Interrogatories contain improper
               boilerplate objections. Eshelman v. Puma Biotechnology, Inc., No. 7:16-CV-18-
               D, 2018 U.S. Dist. LEXIS 58949, at *24 (E.D.N.C. Apr. 6, 2018) (“The party
               seeking the court's protection from responding to discovery must make a
               particularized showing of why discovery should be denied, and conclusory or
               generalized statements fail to satisfy this burden as a matter of law.”) (citing
               Carefirst of Md., Inc., 334 F.3d at 402-03; Mainstreet Collection, 270 F.R.D. at
               240 (recognizing that boilerplate objections are not proper)).
            b. Rog No. 3
                       The number of prerecorded messages put out goes to class certification
                       issues of numerosity.
            Defendant’s position is that it does not have possession of any of these and is premature
            because of above threshold issues, but you would check to see if any summary reports or
            similar documents were sent to Defendant after each campaign.

            c. Rog No. 6
                           If anyone at Defendant worked with Direct Marketing to create the content
                           of the messages, that is responsive and relevant to issues of vicarious
                           liability.
                 You will check to see if there are any written communications regarding the wording of
                 the messages, but do not think any exist.



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                                                     11




          Case 5:21-cv-00173-D Document 20-6 Filed 08/10/21 Page 11 of 17
From: Ignacio Hiraldo <ijhiraldo@ijhlaw.com>
Sent: Thursday, July 8, 2021 8:28 AM
To: Ignacio Hiraldo <ijhiraldo@ijhlaw.com>; Tony Buzzard <tbuzzard@buzzlawfirm.com>
Cc: meisenband@eisenbandlaw.com; esalmon@salmonfirm.com; Cheryl Ivin
<cirvin@buzzlawfirm.com>; mhiraldo@hiraldolaw.com
Subject: RE: Beard v. Hiester

Good morning,

Please use the below dial in for this morning’s call in lieu of the one on the invite:

Dial In Number: 786‐730‐9570
Participant Pin: 29938


Ignacio J. Hiraldo, Esq.
1200 Brickell Ave
Suite 1950
Miami, FL 33131
t. 786‐496‐4469
f. 786‐628‐9291
ijhiraldo@ijhlaw.com
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From: Ignacio Hiraldo <ijhiraldo@ijhlaw.com>
Sent: Wednesday, July 7, 2021 2:33 PM
To: Tony Buzzard <tbuzzard@buzzlawfirm.com>
Cc: meisenband@eisenbandlaw.com; esalmon@salmonfirm.com; Cheryl Ivin
<cirvin@buzzlawfirm.com>; mhiraldo@hiraldolaw.com; Ignacio Hiraldo <ijhiraldo@ijhlaw.com>
Subject: RE: Beard v. Hiester

Tony,

In advance of tomorrow’s call, please see below for items we would like to discuss.

    2. Response to RFPs
          a. Defendant’s responses to almost all of the RFPs are improper boilerplate
               objections. See Eshelman v. Puma Biotechnology, Inc., No. 7:16-CV-18-D, 2018
               U.S. Dist. LEXIS 58949, at *24 (E.D.N.C. Apr. 6, 2018) (“The party seeking the
               court's protection from responding to discovery must make a particularized
               showing of why discovery should be denied, and conclusory or generalized
               statements fail to satisfy this burden as a matter of law.”) (citing Carefirst of Md.,
               Inc., 334 F.3d at 402-03; Mainstreet Collection, 270 F.R.D. at 240 (recognizing
               that boilerplate objections are not proper)).
            b. RFP 2


                                                      12




          Case 5:21-cv-00173-D Document 20-6 Filed 08/10/21 Page 12 of 17
                  We would like to confirm there are no written agreements between
                  Defendant and any of the third parties listed in the interrogatories,
                  including Direct Marketing.
       d. RFP 3
                  This is an improper boilerplate objection. Further, this is relevant to issues
                  of vicarious liability for the calls.
       e. RFP 4
                 This is an improper boilerplate objection. Further, this is relevant to issues
                 of vicarious liability for the calls.
       f. RFP 8, 9, 10
                 This is an improper boilerplate objection. Further, this information is
                 relevant to various class certification issues, such as numerosity,
                 ascertainability, and superiority. Finally, if Defendant is able to obtain
                 these documents from its vendor, it is under an obligation to do so. See
                 Mantha v. QuoteWizard.com, LLC, No. 19-12235-LTS, 2021 U.S. Dist.
                 LEXIS 50021, at *10 (D. Mass. Mar. 16, 2021).
       g. RFPS 15-17
                 Consent is Defendant’s affirmative defense. To the extent Defendant will
                 be relying on a consent defense, it is under an obligation to produce
                 documents it intends to rely on to support that defense.
       h. RFPS 21-22
                 These are improper boilerplate objections. Further, any financial gain
                 Defendant obtained is relevant to the question of vicarious liability,
                 particularly the ratification doctrine.
       i. RFP 26-27
                 This is an improper boilerplate objection. Further, this information is
                 relevant to the purpose of the calls. Finally, if Defendant is able to obtain
                 these documents from its vendor, it is under an obligation to do so. See
                 Mantha v. QuoteWizard.com, LLC, No. 19-12235-LTS, 2021 U.S. Dist.
                 LEXIS 50021, at *10 (D. Mass. Mar. 16, 2021).

3. Responses to Interrogatories
      a. Defendant’s responses to almost all of the Interrogatories contain improper
          boilerplate objections. Eshelman v. Puma Biotechnology, Inc., No. 7:16-CV-18-
          D, 2018 U.S. Dist. LEXIS 58949, at *24 (E.D.N.C. Apr. 6, 2018) (“The party
          seeking the court's protection from responding to discovery must make a
          particularized showing of why discovery should be denied, and conclusory or
          generalized statements fail to satisfy this burden as a matter of law.”) (citing
          Carefirst of Md., Inc., 334 F.3d at 402-03; Mainstreet Collection, 270 F.R.D. at
          240 (recognizing that boilerplate objections are not proper)).
       b. RFP No. 3
                  The number of prerecorded messages put out goes to class certification
                  issues of numerosity.
       d. RFP No. 6


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    Case 5:21-cv-00173-D Document 20-6 Filed 08/10/21 Page 13 of 17
                           If anyone at Defendant worked with Direct Marketing to create the content
                           of the messages, that is responsive and relevant to issues of vicarious
                           liability.



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From: Tony Buzzard <tbuzzard@buzzlawfirm.com>
Sent: Thursday, June 24, 2021 8:17 PM
To: mhiraldo@hiraldolaw.com
Cc: meisenband@eisenbandlaw.com; Ignacio Hiraldo <ijhiraldo@ijhlaw.com>;
esalmon@salmonfirm.com; Cheryl Ivin <cirvin@buzzlawfirm.com>
Subject: Re: Beard v. Hiester

9a?

Sent from my iPhone


        On Jun 24, 2021, at 8:13 PM, mhiraldo@hiraldolaw.com wrote:


        July 8 works, what time?

        From: Tony Buzzard <tbuzzard@buzzlawfirm.com>
        Sent: Thursday, June 24, 2021 8:13 PM
        To: mhiraldo@hiraldolaw.com
        Cc: meisenband@eisenbandlaw.com; Ignacio Hiraldo <ijhiraldo@ijhlaw.com>;
        esalmon@salmonfirm.com
        Subject: Re: Beard v. Hiester

        I am in trial next week as is Mrs. Salmon. I have time the afternoon of July 6 or on July
        8.

        Sent from my iPhone


                 On Jun 24, 2021, at 7:12 PM, mhiraldo@hiraldolaw.com wrote:


                                                     14




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    Please let me know your availability to go over these requests and
    objections. I have the following dates open: 7/1 and 7/2.

    In advance of the call, I will send you a list of the responses/objections I
    would like to discuss.

    From: Robert A. Buzzard <tbuzzard@buzzlawfirm.com>
    Sent: Thursday, June 24, 2021 4:50 PM
    To: mhiraldo@hiraldolaw.com
    Cc: meisenband@eisenbandlaw.com; 'Ignacio Hiraldo'
    <ijhiraldo@ijhlaw.com>; esalmon@salmonfirm.com
    Subject: RE: Beard v. Hiester

    See attached responses to Plaintiff’s First Set of Interrogatories and First
    Set of Requests for Production of Documents.

    Robert A. “Tony” Buzzard
    BUZZARD LAW FIRM
    PO Box 700
    728 S. Main Street
    Lillington, NC 27546
    910.893.2900
    tbuzzard@buzzlawfirm.com
    www.buzzlawfirm.com

    From: Robert A. Buzzard <tbuzzard@buzzlawfirm.com>
    Sent: Wednesday, June 23, 2021 9:10 PM
    To: mhiraldo@hiraldolaw.com
    Cc: meisenband@eisenbandlaw.com; 'Ignacio Hiraldo'
    <ijhiraldo@ijhlaw.com>; esalmon@salmonfirm.com
    Subject: RE: Beard v. Hiester

    See attached responses to Plaintiff’s First Set of Requests for Admission.

    Robert A. “Tony” Buzzard
    BUZZARD LAW FIRM
    PO Box 700
    728 S. Main Street
    Lillington, NC 27546
    910.893.2900
    tbuzzard@buzzlawfirm.com
    www.buzzlawfirm.com

    From: mhiraldo@hiraldolaw.com <mhiraldo@hiraldolaw.com>
    Sent: Wednesday, June 23, 2021 8:13 PM
    To: 'Tony Buzzard' <tbuzzard@buzzlawfirm.com>
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    Cc: meisenband@eisenbandlaw.com; 'Ignacio Hiraldo'
    <ijhiraldo@ijhlaw.com>; esalmon@salmonfirm.com
    Subject: RE: Beard v. Hiester

    Thanks, we do not consent to the extension.

    From: Tony Buzzard <tbuzzard@buzzlawfirm.com>
    Sent: Wednesday, June 23, 2021 8:12 PM
    To: mhiraldo@hiraldolaw.com
    Cc: meisenband@eisenbandlaw.com; Ignacio Hiraldo
    <ijhiraldo@ijhlaw.com>; esalmon@salmonfirm.com
    Subject: Re: Beard v. Hiester

    My last email should have stated we are NOT going to waive any
    objections if that is what you are asking. I guess that makes more sense
    in response to your inquiry now. My apologies.

    While I haven’t made decisions yet about objections, I highly doubt we
    will voluntarily be providing class data at this juncture.

    Sent from my iPhone


            On Jun 23, 2021, at 7:46 PM, mhiraldo@hiraldolaw.com
            wrote:


            That is helpful, but I’m not sure it answers my
            question. Is your client producing class data and what
            will they be working on gathering during the 30 days
            requested?

            From: Robert A. Buzzard <tbuzzard@buzzlawfirm.com>
            Sent: Wednesday, June 23, 2021 6:24 PM
            To: mhiraldo@hiraldolaw.com
            Cc: meisenband@eisenbandlaw.com; 'Ignacio Hiraldo'
            <ijhiraldo@ijhlaw.com>; esalmon@salmonfirm.com
            Subject: RE: Beard v. Hiester

            We are going to waive any objections if that is what you
            are asking.

            Robert A. “Tony” Buzzard
            BUZZARD LAW FIRM
            PO Box 700
            728 S. Main Street
            Lillington, NC 27546
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           910.893.2900
           tbuzzard@buzzlawfirm.com
           www.buzzlawfirm.com

           From: mhiraldo@hiraldolaw.com
           <mhiraldo@hiraldolaw.com>
           Sent: Wednesday, June 23, 2021 5:54 PM
           To: tbuzzard@buzzlawfirm.com
           Cc: meisenband@eisenbandlaw.com; 'Ignacio Hiraldo'
           <ijhiraldo@ijhlaw.com>; mhiraldo@hiraldolaw.com;
           esalmon@salmonfirm.com
           Subject: RE: Beard v. Hiester

           Tony,

           Before we can provide a response, we need
           confirmation that the document production will include
           all class data, including outbound call logs and all
           documentation supporting any consent defense.

           Regards,
           Manny

           From: Robert A. Buzzard <tbuzzard@buzzlawfirm.com>
           Sent: Wednesday, June 23, 2021 5:43 PM
           To: 'Ignacio Hiraldo' <ijhiraldo@ijhlaw.com>
           Cc: 'Elisa Salmon' <esalmon@salmonfirm.com>
           Subject: Beard v. Hiester

           Good evening. We are working on responses to your
           discovery requests and will need some additional
           time. Do you consent to a 30 day extension for same?

           Robert A. “Tony” Buzzard
           BUZZARD LAW FIRM
           PO Box 700
           728 S. Main Street
           Lillington, NC 27546
           910.893.2900
           tbuzzard@buzzlawfirm.com
           www.buzzlawfirm.com

    <RESPONSE TO P's First Request for Production.pdf>
    <RESPONSES TO P's FIRST SET OF INTERROGATORIES.pdf>
    <RESPONSE TO P's FIRST SET OF REQUESTS FOR ADMISSION.pdf>

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